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FORT WORTH DIVISION

UNITED STATES OF AMERICA

 

v. No. 4: l9-CR-Ol9-O
(Supersedes Indictment filed on January 16, 2019
FAIZAL SABAR (02) ' adding defendants Sabar and Glaze only)
a/k/a “Brian Pimentel”
JosHUA GLAZE (03)
SUPERSEDING INDICTMENT
The Grand Jury Charges:
Count One

Conspiracy to Commit Sex Trafficking
(Violation of 18 U.S.C. §1594(0))

From on or about December l, 2017 through on or about December 15, 2017, the
exact dates being unknown to the Grand Jury, in the Fort Worth Division of the Northern
District of TeXas, and elsewhere, defendants Faizal Sabar, also known as Brian Pimentel,
and Joshua Glaze knowingly entered into an agreement to recruit, entice, harbor, transport,
provide, obtain and maintain by any means, in an affecting interstate commerce, victim
AVl, knowing and in reckless disregard of the fact that force, threats of force, fraud and
coercion and any combination of such means would be used to cause victim AVl to engage
in a commercial sex act, and Faizal Sabar, also known as Brian Pimentel, and Joshua
Glaze knew of the unlawful purpose of the agreement, and they joined into the agreement

willfully, that is, with the intent to further its unlawliil purpose.

Superseding Indictment - Page 1

 

 

Case 4:19-cr-00019. Document 31 Filed 03/20/19 ge 2 of 3 Page|D 78

In violation of 18 U.S.C. §1594(0).

A TRUE BILL.

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FOREPERSON

 

 

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Superseding Indictment - Page 2

 

 

Case 4:19-cr-00019-, Document 31 Filed 03/20/19 P@ 3 of 3 Page|D 79

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA
v.

FAIZAL SABAR
a/k/a “Brian Pimentel” (02)
JOSHUA GLAZE (03)

 

SUPERSEDING INDICTMENT

18 U.S.C. §1594(0)
Conspiracy to Commit SeX Trafficking
l Count

 

A true bill rendered

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FORT WORTH FOREPERSON

Filed in open court this 20th day of March, 2019.

 

 

Defendant (02) in Federal Custody as of January 30, 2019
Defendant (03) in Federal Custody as of Janua‘l;yxl 22, 2019

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AGISTRATE JUDGE

 

 

